Case 1:03-cv-01304-.]DT-STA Document 50 Filed 04/22/05 Page 1 of 2 Page|D 46

IN THE UNITED sTATES DISTRICT CoURT F!LED BY ge z D{j_
FoR THE wESTERN DISTRICT oF TENNESSEE
EASTERN DIVISION 05 APR 22 PH 3= 14b

 

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LILLIE LEMIRE, CLER|L_; 0}__ §§ §§SLJTLIé}T

WD. o:§ §i\.§_-J,§CKSON

Plaintiff,
V. Civil Action No: 1-03-1304-T
REITTER & SCHEFENACKER,

Defendant.

 

ORDER GRANTING JOINT MOTION OF PART]ES TO CONTINUE TRIAL

 

Upon the joint motion of the parties and for good cause shown, it is hereby:

ORDERED, ADJUDGED AND DECREED that the trial of this matter, currently set

for May 23, 2005, Shall be continued until 77191|4£¢¢3¢ ,, MM-~/ /-?! o? US'_
kal -
So ordered this 33 / day of M , 2005.

@wwb.§»-M\

JAMES . TODD
UNITE STATES DISTRICT JUDGE

Thls document entered on the docket in oomp\\anoo

with Rule 68 and.'or_19 (a) FRCP on

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Honorable J ames Todd
US DISTRICT COURT

